         Case 3:09-cr-03393-BTM                        Document 322                 Filed 09/22/11                  PageID.1253           Page 1 of 4
                                                                                                                                      FILED
     <i>.A0245B   (Rev. 9/00) Judgment in a Criminal Case
                  Sheet 1                                                                            I                                SEP 2.2 2011
                                                                                                     I                         CLERK, U.S. DISTRICT COURT
                                              UNITED STATES DISTRICT COUR1 SOUTHER~DIJTRICTOFCALIFORNIA
                                                                          ~                                               BY     ~                       DEPUTY
                                                  SOUTHERN DISTRICT OF CAU*ORNIA                                                 / I
                                                                                                     I


                    UNlTED STATES OF AMERICA                                       JUDGME~T IN A CRIMINAL CASE
                                        v.                                         (For Offenses ~ommitted On or After November 1, 1987)

                          SHAWN HOLIDAY [4]
                                                                                                     I
                                                                                   Case Numberj 09CR3393-BTM

                                                                                    SHAWN HOl"IDA Y, PRO SE
                                                                                                     I
                                                                                   Defendant's Attorn1y
    REGISTRATION NO. 16508298
                                                                                                     !
    D
    THE DEFENDANT:
    D pleaded guilty to count(s)                                                                     !
    Igj was found guilty on count(s) 6 AND 8 OF THE THIRD SUPERSEDING INDrCTMENT
          after a plea of not guilty.                                                   I
          Accordingly, the defendant is adjudged guilty ofsuch count(s), which involve tIe following offense(s):
                                                                                                                                             Count
    Title & Section                          Nature ofOtTense                                                                               Number(s)
21 USC 841(a)(I)                     Distribution of Crack Cocaine                                                                               6
21 USC 841(a)(I)                      Possession of Crack Cocaine with Intent to Distribute                                                      8




                                                                                                     I
        The defendant is sentenced as provided in pages 2 through _ _4,,--_ of this ju4gment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.                                                 I
 D The defendant has been found not guilty on count(s) -----------------------+------------------------------­
 D Count(s)                                                                         is   D    are            dismissed on the motion of the United States.
 Igj Assessment:$200.00 at the rate of $25.00 per quarter through the Inmate Financial Respons bility Program.


  Igj Fine waived                                  D Forfeiture pursuant to order filed --~i--------------- included herein.
                                                                                                     1                            ,

       IT IS ORDERED that the defendant shall notify the United States attorney for this districd within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this jud~ment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States attorney of any material change in the defend~nt's economic circumstances.
                                                                                                         !
                                                                               SEPTEMBER 21,2011




                                                                                                                                              09CR3393-BTM
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AO 2458     (Rev. 9iOO) Judgment in Criminal Case
            Sheet 2 Imprisonment
                                                                                                   Judgment ..... Page _ _2_ of   4
DEFENDANT: SHAWN HOLIDAY [4]
CASE NUMBER: 09CR3393-BTM
                                                            IMPRISONMENT              !
          The defendant is hereby committed to the custody of the United States Burqau of Prisons to be imprisoned for a term of
          ONE HUNDRED TWENTY (120) MONTHS AS TO COUNT 6, ONE H~NDRED TWENTY MONTHS AS TO
          COUNT 8, EACH COUNT TO BE SERVED CONCURRENTLY FOR A ITOTAL OF ONE HUNDRED TWENTY
          (120) MONTHS.                                                                   .     ~                       ~
                                                                                                               r~
   o Sentence imposed pursuant to Title 8 USC Section 1326(b).                                   BARRY         D MOSKOWITZ
    ~ The court makes the following recommendations to the Bureau of Prisons:                    UNITED STATES DISTRICT JU DGE
          That the defendant participate in the RDAP program.




    o The defendant is remanded to the custody of the United States Marshal.l
    o The defendant shall surrender to the United States Marshal for this distrIct:
            Oat                                     Oa.m.    Op.m.       on _ _ _     "!""._ _ _ _ _ _ __




               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution drsignated by the Bureau of Prisons:
       o                                                                        I

           o    as notified by the United States Marshal.                             I
           O as notified by the Probation or Pretrial Services Office.                I

                                                               RETURN                 I:
                                                                                      i



 J have executed this judgment as follows:

          Defendant delivered on                                                 to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this jUdgient.


                                                                                      I          UNnloU STA   = MARSHAL
                                                                     By   -------t------------------------------­
                                                                                              DEPUTY UNITED STATES MARSHAL




                                                                                                                           09CR3393-BTM




                                                                                      J
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AO 245D       (Rev. 311 0) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release
                                                                                                            Judgment-Page   ----1.....- of   _ _.. ;.4_ __
DEFENDANT: SHAWN HOLIDAY [4]                                                                 I
CASE NUMBER: 09CR3393-BTM                                                                    I
                                                             SUPERVISED RELEAfE
Upon release from imprisonment, the defendant shall be on supervised release for at rm of:
EIGHT (8) YEARS AS TO COUNT 6, EIGHT (8) YEARS AS TO COUNT 8, BOT                                COUNTS TO BE SERVED CONCURRENTLY
FOR A TOTAL OF EIGHT (8) YEARS.
         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within IS days of release fro I imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submissi n of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

D The above drug testing condition is suspended, based on the court's determinati n that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
                                                                                             I
        The defendant shall not possess a firearm, ammunition, destructive device, or aiY other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, p rsuant to section 3 of the DNA Analysis
        Backing Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shall register with the state sex offender registration agency in th state where the defendant resides, works,
        or is a stud ent, as directed by the probation officer. (Ch eck, if appl icab Ie.) I
D The defendant shall participate in an approved program for domestic violence. [Check, if applicable.)
          Jf this judgment imposes a fine or restitution obligation, it is a condition OfjuperVised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised rei ase in accordance with the Schedule of Payments set
forth in this judgment.
            The defendant must comply with the standard conditions that have been ado ted by this court. The defendant shall also comply with

'"Y 'p''''[ oo""Hlo", Impo,"'.            STANDARD CONDITIONS OF SULERVISION

  I)     the defendant shall not leave the judicial district without the permission of thelourt or probation officer;
  2)     the defendant shall report to the probation officer and shall submit a truthful aid complete written report within the first five days of
         each month;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family respo . sibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by he probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any c ange in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purcha e, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegal y sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activit and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;         I

 10)     the defendant shall permit a probation officer to visit him or her at any time at hpme or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;                        I
 I I)    the defendant shall notify the probation officer within seventy-two hours ofbei1g arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a sPFcial agent of a law enforcement agency without the
         permission of the court; and                                                        I
                                                                                             ,
 J 3)    as directed by the probation officer, the defendant shall notify third parties ofri~ks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation 1fficer to make such notifications and to confirm the
         defendant's compliance with such notification req uirement.
                                                                                                                                   09CR3393-BTM

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       AO 2458    (Rev. 9/00) Judgment in a Criminal Case
                  Sheet 4 - Speeial Conditions
                                                                                                         Judgment-Page   --.:I..- of _.....:..4_ _
       DEFENDANT: SHAWN HOLIDAY [4]
       CASE NUMBER: 09CR3393-BTM




                                              SPECIAL CONDITIONS OF SUP RVISION
l8J Submit person, residence, office or vehicle to a search, conducted by a United States robation Officer at a reasonable time and in a
   reasonable manner, based upon reasonable suspicion of contraband or evidence of a iolation of a condition of release; failure to submit to a
   search may be grounds for revocation; the defendant shall warn any other residents t at the premises may be subject to searches pursuant to
   this condition.

D
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
l8J Not enter the Republic of Mexico without written permission of the Court or probati n officer.
l8J Report all vehicles owned or operated, or in which you have an interest, to the proba ion officer.
l8J Not possess any narcotic drug or controlled substance without a lawful medical pres9ription under Federal law.
l8J Not associate with known users of, smugglers of, or dealers in narcotics, controlled srbstances, or dangerous drugs in any form.
                                                                                           ·
D Participate in a program of mental health treatment as directed by the probation OffiC r. The Court authorizes the release of the pre-sentence
   report and available psychological evaluations to the mental health provider, as appr ved by the probation officer. The defendant shall


                                                                                           t
   consent to the release of evaluations and treatment information to the probation offic r and the Court by the mental health provider.


D Take no medication containing a controlled substance without valid medical preseri;.ion, and provide proof of prescription to the probation
  officer, if directed.
D Provide complete disclosure of personal and business financial records to the probati n officer as requested.
D Be prohibited from opening checking accounts or incurring new credit charges or op ning additional lines of credit without approval of the
   probation officer.
                                                                                            I
l8J Seek and maintain full time employment and/or schooling or a combination ofboth.!
D Resolve all outstanding warrants within         days.                              i
D Complete         hours of community service in a program approved by the probati officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer fo a period of
l8J Participate in a program of drug or alcohol abuse treatment including testing and c nseling, with at least I to 8 tests per month and I to 8
    counseling sessions per month as directed by the probation officer.

D If deported, excluded, or allowed to voluntarily leave the United States, obey all law federal, state and local and not reenter the United
    States illegally and report to the probation officer within 72 hours of any reentry to tl/le United States; the other conditions of supervision are
    ""pended whH, the defend"", i, om ofthe United State, after deport,rion, eXclu,iol 0' voluntm" dep"""e.




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